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1
                                UNITED STATES DISTRICT COURT
2
                              SOUTHERN DISTRICT OF CALIFORNIA
3

4       UNITED STATES OF AMERICA                )
                                                )
5                                               )   Case No. 19cr4642-MMA
                                                )
6             v.                                )
                                                )
7       MARCOS ALFONSO GUERRERO                 )   ORDER GRANTING JOINT MOTION TO
        VALENZUELA,                             )   CONTINUE MOTION HEARING AND
8                                               )   EXCLUDE TIME UNDER THE SPEEDY
                                                )   TRIAL ACT
9         Defendant.                            )
                                                )
10
             The Court hereby FINDS AS FOLLOWS:
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             1.     Defendant is scheduled to appear for motion hearing / trial setting on
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       November 9, 2020 at 2:00 p.m.
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             2.     On March 17, 2020, the Chief Judge issued Order of the Chief Judge (OCJ)
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       18, declaring a judicial emergency for a period of 30 days under 18 U.S.C. § 3174 and
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       setting forth Emergency Orders for the Southern District of California due to the COVID-
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       19 public health emergency. That Order was subsequently amended and modified by
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       OCJs 18-A and 22. On April 2, 2020, the Judicial Council of the Ninth Circuit ratified the
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       judicial emergency declared in OCJ 18, and extended it for an additional period of up to
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       one year. The Chief Judge has subsequently extended the Emergency Orders six times
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       with OCJs 24 (April 15, 2020), 27 (May 15, 2020), 30 (June 11, 2020), 33 (July 14, 2020),
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       34 (August 14, 2020), 40 (September 14, 2020) respectively. Most recently, on October 14,
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       2020, the Order was extended for another 30 days by the Chief United States District
23
       Judge. See OCJ 47. These Orders, which are hereby incorporated by reference, were
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       imposed based on (1) the state of emergency declared in response to the spread of the
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       coronavirus (COVID-19), (2) the restrictions on public gatherings recommended by the
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       Centers for Disease Control and Prevention, (3) the lack of a quorum of grand jurors
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       during the period of national emergency, and (4) restrictions on attorney visits imposed
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       at the Metropolitan Correctional Center and other detention facilities. In light of the
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       public health restrictions and in order to protect public safety and prevent the spread of
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       the COVID-19 outbreak, the Court declared a judicial emergency under 18 U.S.C. § 3174
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       and continued or suspended all jury trials, trial-specific deadlines and other criminal
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       proceedings, including sentencings, supervised release revocation hearings, motion
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       hearings, arraignments, plea hearings, misdemeanor bench trials, and all proceedings
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       under Federal Rule of Criminal Procedure 5.1, until November 16, 2020.
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             3.      Given the grave public-health concerns discussed in Order of the Chief
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       Judge Nos. 18, 24, 27, 30, 33, 34, 40, and 47, the ends of justice served by a continuance
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       in this case outweigh the best interest of the public and defendant in a speedy trial.
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             4.     Failure to grant the continuance would be likely to make a continuation of
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       the proceeding impossible or result in a miscarriage of justice.
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             5.     Failure to continue the case would also likely put counsel, parties, witnesses,
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       and Court personnel at unnecessary risk.
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             6.     Due to the restrictions imposed by current public-health concerns it is also
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       unreasonable to expect adequate preparation for pretrial proceedings or for the trial itself
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       within the Speedy Trial Act time limits. Thus, denial of a continuance is likely to deny
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       all counsel reasonable time necessary for effective preparation, taking into account the
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       exercise of due diligence.
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             Accordingly, the Court finds that there are facts that support a continuance of the
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       trial date or hearing date in this matter, and good cause for a finding of excludable time
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       pursuant to the Speedy Trial Act, 18 U.S.C. § 3161.
24
             THEREFORE, FOR GOOD CAUSE SHOWN:
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             1.     The motion hearing / trial setting in this matter is continued from November
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       9, 2020 at 2:00 p.m. to January 13, 2021 at 2:00 p.m.
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              2.     The time period of November 2, 2020 to January 13, 2021, inclusive, is
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       excluded in computing the time within which the trial must commence, pursuant to 18
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       U.S.C. §§ 3161(h)(7)(A), (h)(7)(B)(i), and (h)(B)(iv).
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              3.     Nothing in this Order shall preclude a finding that other provisions of the
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       Speedy Trial Act dictate that additional time periods are excluded from the period within
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       which trial must commence. Moreover, the same provisions and/or other provisions of the
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       Speedy Trial Act may in the future authorize the exclusion of additional time periods from
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       the period within which trial must commence.
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              IT IS SO ORDERED.
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              DATED: November 2, 2020                         ______________________________
11                                                      The Honorable Michael M. Anello
                                                        United States District Court Judge
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